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 1 Daniel Feinberg– CA State Bar No. 135983
   Email: dan@feinbergjackson.com
 2 FEINBERG, JACKSON, WORTHMAN & WASOW LLP
   383 - 4th Street, Suite 201
 3
   Oakland, CA 94609
 4 Tel: (510) 269-7998
   Fax: (510) 269-7994
 5
   R. Joseph Barton – CA State Bar No. 212340
 6 Email: jbarton@blockesq.com
   BLOCK & LEVITON LLP
 7
   1735 20th Street, N.W.
 8 Washington, DC 20009
   Tel: (202) 734-7046
 9 Fax: (617) 507-6020

10 Attorneys for Plaintiffs

11
                               UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                              SAN FRANCISCO/OAKLAND DIVISION
14

15   CAROL FOSTER, and THEO FOREMAN,                 Case No.:
     on behalf of themselves, individually, and on
16   behalf of all others similarly situated,        CLASS ACTION
                                                     COMPLAINT
17          Plaintiffs,
18   v.
19
     ADAMS AND ASSOCIATES, INC., ROY
20   A. ADAMS, LESLIE G. ADAMS, DANIEL
     B. NOREM, and ALAN M. WEISSMAN,
21
            Defendants.
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 1 I.       INTRODUCTION
 2          1.       Plaintiffs bring this action under the Employee Retirement Income Security Act
 3 of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq., on behalf of a Class of participants in and

 4 beneficiaries of the Adams and Associates Employee Stock Ownership Plan (“the Adams

 5 ESOP,” “the ESOP” or “the Plan”) to restore losses to the Plan, disgorge any profits through the

 6 use of Plan assets, and to obtain other remedial and appropriate equitable relief in order to

 7 redress violations and enforce the provisions of Title I of ERISA.

 8          2.       These claims arise out of a transaction in or about September 2012 in which
 9 Defendants Roy A. Adams, Leslie G. Adams, members of the Adams family and/or Adams

10 family trusts sold 100% of the stock of Adams and Associates, Inc (“the September 2012

11 Transaction”) to the Adams ESOP and subsequent breaches by the fiduciaries of the Adams

12 ESOP. This transaction was not designed to be in the best interests of the ESOP participants,

13 was implemented by a Trustee who is a felon now incarcerated for stealing from other ESOPs

14 and caused the ESOP to pay in excess of fair market value. As a result of violations of ERISA’s

15 fiduciary rules by the fiduciaries entrusted with their Plan., Plaintiffs and the Class have not

16 received all of the hard-earned retirement benefits or the loyal and prudent management of the

17 ESOP to which they are entitled. Moreover, Adams and Associates and the Director Defendants

18 have concealed from Plaintiffs and the ESOP’s other participants the fact that the ESOP’s trustee

19 is a felon because they do not want to arouse suspicion about the September 2012 ESOP

20 Transaction.

21 II.      JURISDICTION AND VENUE
22          3.       This Court has subject matter jurisdiction over this action pursuant to ERISA §
23 502(e)(2), 29 U.S.C. § 1132(e)(2) because this action arises under the laws of the United States

24 and pursuant to 29 U.S.C. § 1132(e)(1).

25          4.       Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C. §
26 1132(e)(2), because the breaches and violations giving rise to the claims occurred in this District,
27 and one or more of the Defendants may be found in this District.

28 //


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 1 III.     INTRA-DISTRICT ASSIGNMENT
 2          5.       This action arises in the County of San Francisco in that some of the alleged
 3 breaches took place in the County of San Francisco, California and one or more of the

 4 Defendants may be found in San Francisco.

 5 IV.      PARTIES
 6          6.       Plaintiff Carol Foster is a former employee of Adams and Associates. Plaintiff
 7 Foster was employed as a Security Advisor by Adams and Associates from on or about February

 8 4, 2015 through on or about March 16, 2018 at the Treasure Island Job Corps Center in San

 9 Francisco, California. As a result of her employment, Plaintiff became and is a participant, as

10 defined in ERISA § 3(7), 29 U.S.C. § 1002(7), in the Adams ESOP. Plaintiff Foster resides in

11 Oakland, California.

12          7.       Plaintiff Theo Foreman is a current employee of Adams and Associates. Plaintiff
13 Foreman has been employed as a Center Shift Manager by Adams and Associates from on or

14 about June 1, 2009 through the present at the Treasure Island Job Corps Center in San Francisco,

15 California. As a result of his employment, Plaintiff became and is a participant, as defined in

16 ERISA § 3(7), 29 U.S.C. § 1002(7), in the Adams ESOP. Plaintiff Foreman resides in Oakland,

17 California.

18          8.       Defendant Adams and Associates, Inc. (“Adams and Associates”) is and has been
19 since the inception of the ESOP, the Sponsor of the ESOP within the meaning of ERISA §

20 3(16)(B), 29 U.S.C. § 1002(16)(B), the designated Plan Administrator of the ESOP within the

21 meaning of ERISA § 3(16)(A), § 1002(16)(A), and a named fiduciary of the ESOP within the

22 meaning of ERISA § 402, 29 U.S.C. § 1102. Adams and Associates is and was a fiduciary of the

23 ESOP under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), by virtue of its position as Plan

24 Administrator and because it exercised discretionary authority or discretionary control respecting

25 management of the ESOP, and/or had discretionary authority or discretionary responsibility in

26 the administration of the ESOP.
27          9.       Defendant Roy A. Adams (“Mr. Adams”) is and has been a member of the Board
28 of Directors of Adams and Associates and President of Adams and Associates since the


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 1 Company’s incorporation in 1990. As a result of his membership on the Board of Directors, Mr.

 2 Adams is and has been at all relevant times a fiduciary of the ESOP within the meaning of

 3 ERISA § 3(21)(A), 29 U.S.C. § 1002(21), and a “party in interest” as to the ESOP as defined in

 4 ERISA § 3(14), 29 U.S.C. § 1002(14). Mr. Adams resides in or near South Lake Tahoe,

 5 California.

 6         10.     Defendant Leslie G. Adams (“Ms. Adams”) is and has been a member of the
 7 Board of Directors of Adams and Associates since the Company’s incorporation in 1990. Ms.

 8 Adams has been the Secretary of the Company and/or Vice President of Adams and Associates

 9 since at least 2011. Ms. Adams is the wife of Defendant Roy Adams. As a result of her

10 membership on the Board of Directors, Defendant Leslie Adams is and has been at all relevant

11 times a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21),

12 and a “party in interest” as to the ESOP as defined in ERISA § 3(14), 29 U.S.C. § 1002(14). Ms.

13 Adams resides in or near South Lake Tahoe, California.

14         11.     Defendant Daniel B. Norem (“Mr. Norem”) is the Executive Vice-President of
15 Adams and Associates. Defendant Norem is and has been a member of the Board of Directors of

16 Adams and Associates from at least 1998 through the present. As a result of his membership on

17 the Board of Directors, Mr. Adams is and has been at all relevant times a fiduciary of the ESOP

18 within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21), and a “party in interest” as to

19 the ESOP as defined in ERISA § 3(14), 29 U.S.C. § 1002(14). Mr. Norem resides in or near

20 Reno, Nevada.

21         12.     Defendant Alan Weissman (“Mr. Weissman”) is a convicted felon who pled
22 guilty on March 1, 2017 in United States v. Alan Weissman, No. CR 16-0063-1-CRB (N.D. Cal.)

23 to four counts in an indictment that charged him with bank fraud, theft and embezzlement from

24 an employee pension benefit plan – specifically two ESOPs – which occurred in 2010 and 2011

25 as well as false statements and concealment of facts in relation to ERISA documents. At the time

26 of the September 2012 Transaction, Weissman was the Trustee of the Adams & Associates
27 ESOP. According to the Summary Plan Description for the Adams & Associates ESOP

28 available to employees in April 2018, Alan Weissman remains the Trustee of the ESOP. Thus,


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 1 at all relevant times, Defendant Weissman was a fiduciary of the ESOP within the meaning of

 2 ERISA § 3(21)(A), 29 U.S.C. § 1002(21). Defendant Weissman currently resides at the Federal

 3 Correctional Institution, Terminal Island in San Pedro, California. According to the Federal

 4 Bureau of Prisons website, Weissman will remain incarcerated until November 8, 2019.

 5          13.    The Director Defendants refers to Defendants Roy Adams, Leslie Adams and
 6 Daniel Norem.

 7          14.    The Adams Family refers to Defendants Roy Adams, Leslie Adams, members of
 8 the Adams family and/or Adams family trusts.

 9 V.       FACTUAL ALLEGATIONS
10          15.    Adams and Associates claims on its website to be one of the largest private sector
11 entities involved in the federal Job Corps program. According to Statements of Information filed

12 by Adams and Associates with the State of California Secretary of State, the address of the

13 principal office Adams and Associates in the State of California is located at 655 H Avenue,

14 Building 442, Treasure Island Station, San Francisco, California 94130.

15          16.    According to its website, Adams and Associates “began as a small business,
16 formed in 1990.” According to the Articles of Incorporation obtained from the Nevada Secretary

17 of State, Adams and Associates was incorporated on September 25, 1990. Prior to the September

18 2012 Transaction, all or nearly all of Adams and Associates was owned by the Adams Family.

19          17.    The U.S. Department of Labor awards Job Corps contracts based on a competitive
20 bidding process. The Department of Labor issues a Request for Proposals for a limited time

21 period, plus optional renewals. The bidding process for Job Corps contracts and renewals of

22 those contracts is highly competitive.

23          18.    The appeals process for Job Corps contracts and possible litigation if an appeal is
24 denied creates additional uncertainty for any bidder’s ability to secure a contract. Most newly

25 awarded contracts are appealed and the incumbent remains in place while appeals are pending.

26 The appeal process can take years. In addition, incumbents may file suit in the Federal Court of
27 Claims if an appeal is unsuccessful. Indeed, Adams and Associates used this tactic when it lost

28 the contracts for the Gadsen and Sargent Shriver Job Corps Centers, as alleged below.


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 1          19.     In its early years, the financial success of Adams & Associates depended in large
 2 part on its ability to qualify as a small business in bidding on contracts for the Job Corps

 3 program. In 2012, the Department of Labor dramatically increased the number of Job Corps

 4 Center operator contracts set aside for small businesses.

 5          20.     Adding to the competitive bidding process for Job Corps contracts, the
 6 Department of Labor limits the right to compete for some Job Corps Center contracts to small

 7 businesses. The revenue limit for a business to qualify for a small business for purpose of

 8 bidding on contracts as s small business for Job Corps Centers was $35.5 million in annual

 9 receipts at the time of the September 2012 Transaction.

10          21.     Sometime prior to the September 2012 Transaction, it was apparent that Adams
11 and Associates either no longer qualified or soon would no longer qualify as a small business and

12 therefore could not compete for small business set-aside contracts. As a result, it was also

13 apparent that Adams & Associates would lose or stood a substantial risk of losing a substantial

14 part of its business as a result of failing to qualify as a small business when bidding for federal

15 Job Corps Center contracts.

16          22.     Prior to the September 2012 Transaction, it was apparent that Adams and
17 Associates would likely lose to two Job Corps Center contracts which were up for renewal – the

18 Gadsen Job Corps Center in Alabama and the Shriver Job Corps Center in Massachusetts –

19 because the Company no longer qualified as a small business.

20          23.     The Adams Family caused Adams and Associates to establish the ESOP, in part,
21 based on the misguided and mistaken belief that being an ESOP-owned company would allow

22 Adams & Associates to compete for Job Corps contracts set aside for small businesses. This

23 belief has not proven correct and was not reasonable at the time.

24          24.     Adams and Associates faced other obstacles and challenges in or around 2012.
25 For example, Edna Primrose, a former employee of Adams and Associates, was appointed as

26 National Director of Job Corps in March 2010. At first, Ms. Primrose’s appointment helped
27 Adams and Associates obtain and retain Job Corps contracts. However, Job Corps was plagued

28 by financial and management troubles under Ms. Primrose’s leadership. In April 2012, it was


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 1 discovered that Job Corps had a $39 million budget shortfall for fiscal year 2011. As a result,

 2 there were immediate cuts to budgets and contracts to make up the shortfall. The cutbacks

 3 included an enrollment freeze that was in place for a number of months. In addition, the Job

 4 Corps program overspent its budget by an additional $69.5 million in the 2012 fiscal year, which

 5 led to additional cutbacks. Ms. Primrose was forced to resign in November 2012.

 6         25.     Having an ESOP own Adams & Associates would also allow the Adams Family
 7 to retain control of the Company so long as they were officers and directors and had the power to

 8 appoint and remove the Trustee. According to filings with the Nevada Secretary of State, both

 9 prior to and after the ESOP-ownership, Roy Adams was and is the President and a member of the

10 Board of Adams & Associates and Leslie Adams was and is the Secretary and a member of the

11 Board of Directors.

12         26.     The Adams Family also had Adams and Associates establish the ESOP, in part, to
13 try to eliminate a union representing many workers at the Treasure Island Job Corps Center.

14 Union members are not eligible to participate in the ESOP. Adams and Associates believed that

15 represented employees would choose to leave the union in order to be eligible for ESOP benefits.

16         27.     As set forth in the Summary Plan Description (“SPD”), the ESOP provides that
17 “[a]n Employee whose terms of employment with the Employer are covered by a collective

18 bargaining agreement shall not be eligible to participate in the [ESOP].”

19         28.     Roy Adams has taken steps to eliminate union representation on other occasion.
20 For example, when Adams and Associates became a subcontractor at a Sacramento Job Corps

21 Center in 2014, Roy Adams sought get rid of union representation. In a decision affirmed by the

22 Fifth Circuit, the NLRB Administrative Law Judge found that in connection with its operation of

23 the Job Corps Center in Sacramento, “overwhelming evidence supports the government's

24 allegation that Adams refused to hire former employees … in order to avoid the obligation to

25 recognize and bargain with the Union as a successor employer. Adams & Associates, Inc. and

26 Mcconnell, Jones, Lanier & Murphy, LLP and Sacramento Job Corps Fedn. of Teachers, Aft
27 Loc. 4986, Am. Fedn. of Teachers, 2015 L.R.R.M. (BNA) ¶ 184715 (N.L.R.B. Div. of Judges

28 June 16, 2015).


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 1         29.     As found by the Fifth Circuit, “[Roy Adams’] own statements and actions evince
 2 an intent to avoid bargaining with the Union. [Adams and Associates] does not deny that [Roy

 3 Adams] explicitly voiced displeasure at the transition team’s failure to avoid Union recognition.”

 4 Adams and Associates, Inc. v. NLRB, 871 F.3d 358, 370 (5th Cir. 2017). “[Roy Adams’]

 5 statements … indicate that the CEO of [Adams and Associates] himself intended for the

 6 company to avoid recognizing the Union.” Id. at 371. 6.

 7         30.     Prior to the sale of Adams and Associates stock to the ESOP, all or almost all
 8 Company stock was owned by Defendants Roy Adams and Leslie Adams, members of the

 9 Adams family and/or Adams family trusts. Adams and Associates adopted the ESOP effective

10 January 1, 2012. As reflected by the 2012 Form 5500 filed on October 4, 2013, the ESOP had

11 no assets as of January 1, 2012.

12         31.     In order to facilitate the sale of the Adams Family stock to the Adams ESOP, the
13 Board of Directors of Adams and Associates appointed Defendant Weissman as Trustee of the

14 ESOP in or about 2012. Defendant Weissman was Trustee of the ESOP at the time of the

15 September 2012 Transaction.

16         32.     No loyal and prudent fiduciary who had conducted a reasonably prudent
17 investigation would have appointed Defendant Weissman as the Trustee of the ESOP because

18 Defendant Weissman was engaged in criminal conduct involving ESOPs at the time he acted on

19 behalf of the ESOP in the September 2012 Transaction.

20         33.     The Director Defendants did not conduct appropriate due diligence before
21 appointing Defendant Weissman as trustee of the ESOP. Had they conducted an appropriate

22 investigation of the background of Defendant Weissman prior to or at the time of the September

23 2012 Transaction, the Director Defendants would have discovered that on June 12, 2012,

24 Defendant Weissman was sued for improper management of an ESOP for which he served as

25 trustee of the ESOP in Rickstrew v. Weissman, No. 12-cv-03133-WHA (N.D. Cal.). Had the

26 Director Defendants read the Rickstrew complaint, the Director Defendants would have learned
27 that Weissman was accused of embezzling almost $400,000 from an ESOP. No loyal or prudent

28 fiduciary would have appointed Defendant Weissman to act as the Trustee for an ESOP -- and


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 1 particularly not in an ESOP Transaction -- had they discovered the allegations in the Rickstrew

 2 lawsuit, particularly where such allegations led to Weissman’s 2016 indictment.

 3         34.     The Director Defendants did not conduct appropriate due diligence after
 4 appointing Defendant Weissman as trustee of the ESOP. Had they conducted an appropriate

 5 investigation of Defendant Weissman after the September 2012 Transaction, the Director

 6 Defendants would have discovered the following (in addition to Weissman being civilly sued for

 7 his embezzlement):

 8                 a.     On February 11, 2016, a grand jury indicted Defendant Weissman on 14
 9         counts, including theft or embezzlement from two ESOPs for which Weissman served as
10         trustee in United States v. Weissman, No. 16-cr-00063-CRB (N.D. Cal.). Weissman’s
11         misconduct, as alleged in the indictment, dated back to at least 2010.
12                 b.     On March 1, 2017, Defendant Weissman pled guilty to one count of bank
13         fraud, two counts of embezzlement from the ESOPs, and one count of making false
14         statements and concealment of facts in relation to documents required by ERISA. In sum,
15         Weissman admitted embezzling $787,762 in ERISA plan funds.
16                  c.    On June 7, 2017, the U.S. District Court for the Northern District of
17         California sentenced Defendant Weissman to 30 months in prison.
18         35.     The U.S. Department of Labor contacted Adams and Associates during the course
19 of its investigation of Defendant Weissman. Upon information and belief, the Department of

20 Labor informed Adams and Associates in or about 2014 that it was investigating possible

21 misconduct by Defendant Weissman while serving as an ESOP trustee.

22         36.     Defendant Adams and Associates and the Director Defendants have not disclosed
23 Defendant Weissman’s criminal conduct to Plaintiffs or other ESOP participants. Defendant

24 Adams and Associates and the Director Defendants have concealed Defendant Weissman’s

25 criminal conduct and the Department of Labor’s investigation of Weissman from Plaintiffs and

26 other ESOP participants. Defendant Adams and Associates and the Director Defendants have
27 concealed Defendant Weissman’s criminal conduct and the Department of Labor investigation in

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 1 order to avoid arousing suspicion about the September 2012 ESOP Transaction. Plaintiffs first

 2 learned of Defendant Weissman’s criminal conduct in April 2018.

 3          37.    As of April 2018, the ESOP’s Summary Plan Description available to participants
 4 still identifies Defendant Weissman as the Trustee of the ESOP.

 5          38.    Plaintiffs do not know if Defendant Weissman remains the Trustee of the ESOP.
 6 If Defendant Weissman is still the Trustee of the ESOP, then Defendant Weissman has violated

 7 ERISA § 411, 29 U.S.C. §1111, which provides in relevant part that no person who has been

 8 convicted of or imprisoned as a result of his conviction of, “any felony involving abuse or

 9 misuse of such person’s position or employment in a[n] … employee benefit plan to seek or

10 obtain an illegal gain at the expense of … the beneficiaries of the employee benefit plan” shall

11 serve or be permitted to serve as a trustee or fiduciary of an ERISA plan.

12          39.    In order to facilitate the purchase of the Adams and Associates stock, the Adams
13 Family as the then-shareholders of Adams and Associates voted to amend Article IV Section A

14 of the Articles of Incorporation to increase the authorized capital stock of the Corporation to be 2

15 million shares according to a Certificate of Amendment filed with the Nevada Secretary of State

16 dated September 20, 2012 at 2:45 pm signed by Defendant Leslie Adams.

17          40.    In or about September 2012, Defendant Weissman, acting as Trustee of the
18 ESOP, caused the Adams ESOP to purchase 100% of Adams and Associates stock from the

19 Adams Family for $33,500,000 (the “September 2012 Transaction”).

20          41.    After the September 2012 Transaction, Adams and Associates lost the Job Corps
21 contracts for the Gadsen and Shriver Job Corps Centers.

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 1                     42.    As shown by the chart below, the value of the ESOP’s Adams and Associates
 2 stock declined precipitously following the 2012 ESOP Transaction and has remained far below

 3 the purchase price:

 4                                  Adams and Associates Stock Value 2012-2016
 5                   $40.00

                     $35.00
 6
                     $30.00
 7
                     $25.00
       Price/Share




 8                   $20.00

 9                   $15.00

10                   $10.00

                      $5.00
11
                      $0.00
12                            Sep-2012      Dec-2012     Dec-2013          Dec-2014   Dec-2015   Dec-2016
                                                                    Date
13

14                     43.    As explained by the Form 5500s filed with the Department of Labor, the funds
15 borrowed by the ESOP are “collateralized by the unallocated shares of stock and guaranteed by

16 the Company.” But “[t]he lenders have no rights against shares once they are allocated under the

17 ESOP.” As explained by the Form 5500, the financial statements present separately the assets

18 and liabilities of the stock allocated to the accounts of participants from the assets and liabilities

19 of the unallocated shares. As the acquisition indebtedness is only a liability of the unallocated

20 shares, the acquisition debt cannot explain the post-acquisition depressed price of the allocated

21 shares.

22                     44.    According to the 2012 Form 5500 filed with the Department of Labor on October
23 4, 2013, the fair market value for the stock held by the Adams ESOP was only $ 6,250,000 as of

24 December 31, 2012.

25                     45.    According to the 2016 Form 5500 filed with the Department of Labor on
26 September 21, 2017, the fair market value for the stock held by the Adams ESOP was only
27 $12,310,000 as of December 31, 2016.

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 1         46.     The Adams ESOP paid more than fair market value in the September 2012
 2 Transaction. Based on the available information, the purchase price for the September 2012

 3 Transaction was based in part on a valuation report that was unreliable.

 4         47.     Based on the available information, the September 2012 Transaction price was
 5 based on unrealistic financial projections and did not adequately consider Adams and Associates’

 6 dependence on Job Corps contracts, the competitive bidding process for Job Corps contracts, the

 7 impending loss of the Gadsen and Sargent Shriver Job Corps Center contracts, Job Corps’ budget

 8 problems, or the fact that Adams and Associates no longer qualified for small business set-aside

 9 contracts.

10         48.     A prudent fiduciary who had conducted a prudent investigation would have
11 concluded that the ESOP was paying more than fair market value for the Adams and Associates

12 shares and/or the debt incurred in connection with the Transaction was excessive.

13         49.     All of the Defendants would have had access to the financial information upon
14 which the valuation for the September 2012 Transaction was based and as a result of their status

15 as fiduciaries for the ESOP would have had access to the valuation report itself. The valuation

16 report was not provided to the participants of the Adams ESOP.

17         50.     The decline in value of the Adams and Associates stock owned by the ESOP
18 following the September 2012 Transaction should have caused Defendant Weissman as well as

19 the Director Defendants, at a minimum, to investigate whether the ESOP had paid more than fair

20 market value in the September 2012 Transaction. To the extent that any of the Defendants had

21 conducted such an investigation, that investigation as well as any corrective measures would

22 have been reported in one of the Form 5500s filed with the Department of Labor. As none of the

23 Form 5500s report any such investigation or corrective actions, none of the Defendants

24 investigated whether fiduciary violations had occurred in the 2012 ESOP Transaction despite

25 numerous red flags that should have raised concerns.

26 VI.     CLASS ACTION ALLEGATIONS
27         41.     Plaintiffs bring these claims as a class action pursuant to Fed. R. Civ. P. 23 (a)
28 and (b), on behalf of all participants in the Adams and Associates ESOP from September 2012


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 1 (or the date of the Transaction) or any time thereafter who vested under the terms of the Plan and

 2 those participants’ beneficiaries. Excluded from the Plaintiff Class are Defendants and their

 3 immediate family, any fiduciary of the Plan; the officers and directors of Adams and Associates

 4 or of any entity in which a Defendant has a controlling interest; and legal representatives,

 5 successors, and assigns of any such excluded persons.

 6          42.    The members of the Class are so numerous that joinder of all members is
 7 impracticable. According to the 2016 Form 5500 filed with the Department of Labor, which is

 8 the most recent available Form 5500, as of January 1, 2016, there were 2,097 participants, within

 9 the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), in the ESOP. As Adams and Associates

10 claims on its website to employ more than 2,700 employees at over 20 locations including 17 Job

11 Corps centers across the country, the members of the Class are geographically dispersed.

12          43.    The issues of liability are common to all members of the Class and are capable of
13 common answers as those issues primarily focus on defendants’ acts (or failure to act). Questions

14 of law and fact common to the Plaintiff Class as a whole include, but are not limited to, the

15 following:

16                 a.      Whether Defendants engaged in a prohibited transaction under ERISA by
17          permitting the ESOP to purchase Adams and Associates stock from Defendants Roy
18          Adams and Leslie Adams, members of the Adams family and/or Adams family trusts for
19          more than adequate consideration in the September 2012 Transaction;
20                 b.      Whether Defendant Weissman engaged in a prudent investigation of the
21          proposed purchase of Adams and Associates stock by the ESOP in the September 2012
22          Transaction;
23                 c.      Whether Defendant Weissman breached a fiduciary duty to ESOP
24          participants by causing the ESOP to purchase Adams and Associates stock in 2012 for
25          more than fair market value;
26                 d.      Whether the Director Defendants breached their fiduciary duties by failing
27          to adequately monitor the ESOP’s Trustee;
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 1                  e.      Whether Defendants Adams and Associates, Roy Adams and Leslie
 2          Adams breached their fiduciary duties to inform the ESOP participants about Defendant
 3          Weissman’s criminal activity and to take appropriate corrective action;
 4                  f.      The amount of losses suffered by the ESOP as a result of Defendants’
 5          fiduciary violations and/or other appropriate remedial and equitable relief.
 6          42.     Plaintiffs’ claims are typical of those of the Class because their claims arise from
 7 the same event, practice and/or course of conduct. Specifically, Plaintiffs, on behalf of the Class,

 8 alleged that Defendants breached their fiduciary duties or otherwise violated ERISA in

 9 connection with the sale of stock to the Adams ESOP, management of the assets of the Plan or in

10 performing their fiduciary duties to the Plan. Plaintiffs challenge the legality and appropriateness

11 of a plan-wide transaction, which as the Form 5500s explain whereby stock is allocated to all

12 participants’ accounts based on the per share price in the September 2012 Transaction as the Plan

13 makes each payment of principal and interest. As a result, Plaintiffs like other ESOP participants

14 in the Plaintiff Class, have received less in their ESOP accounts based on the same per share

15 purchase price of Adams and Associates stock, and continue to suffer such losses in the present

16 because Defendants have failed to correct the overpayment by the ESOP.

17          43.     Plaintiffs will fairly and adequately represent and protect the interests of the
18 Class. Plaintiffs do not have any interests antagonistic to or in conflict with those of the Class.

19          44.     Defendants do not have any unique defenses that would interfere with Plaintiffs’
20 representation of the Class.

21          45.     Plaintiffs have retained counsel competent and experienced in complex class
22 actions, ERISA, and employee benefits litigation and with particular experience and expertise in

23 ESOP litigation.

24          46.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(1)(A).
25 Fiduciaries of ERISA-covered plans have a legal obligation to act consistently with respect to all

26 similarly situated participants and to act in the best interests of the Plan and their participants.
27 This action challenges whether Defendants acted consistently with their fiduciary duties or

28 otherwise violated ERISA as to the ESOP as a whole. As a result, prosecution of separate actions


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 1 by individual members would create the risk of inconsistent or varying adjudications that would

 2 establish incompatible standards of conduct relating to the Plan.

 3          47.     Class certification is also appropriate pursuant to Fed. R. Civ. P. 23(b)(1)(B).
 4 Administration of an ERISA-covered plan requires that all similarly situated participants be

 5 treated the same. Resolving whether Defendants fulfilled their fiduciary obligations to the Plans,

 6 engaged in prohibited transactions with respect to the Plan would, as a practical matter, be

 7 dispositive of the interests of the other participants in the ESOP even if they are not parties to

 8 this litigation and would substantially impair or impede their ability to protect their interests if

 9 they are not made parties to this litigation by being included in the Class.

10          48.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because
11 Defendants have acted or refused to act on grounds generally applicable to the Class, making

12 appropriate declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

13 This action challenges whether Defendants acted consistently with their fiduciary duties or

14 otherwise violated ERISA as to the ESOP as a whole. The members of the Class are entitled to

15 declaratory and injunctive relief to remedy Defendants’ fiduciary violations. As ERISA is based

16 on trust law, any monetary relief consists of equitable monetary relief and is either provided

17 directly by the declaratory or injunctive relief or flows as a necessary consequence of that relief.

18          49.     Additionally, and alternatively, class certification is appropriate pursuant to Fed.
19 R. Civ. P. 23(b)(3) because questions of law and fact common to all Class members predominate

20 over any questions affecting individual members of the Class, and because a class action is

21 superior to other available methods for the fair and efficient adjudication of this action. Common

22 questions related to liability will necessarily predominate over any individual questions precisely

23 because Defendants’ duties and obligations were uniform to all participants and therefore all

24 members of the Class. Plaintiffs and all Class members have been harmed by the ESOP paying

25 more than fair market value for Adams and Associates stock in the September 2012 Transaction.

26 As relief and any recovery will be on behalf of the Plan, common questions as to remedies will
27 likewise predominate over any individual issues.

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 1          50.     A class action is a superior method to other available methods for the fair and
 2 efficient adjudication of this action. As the claims are brought on behalf of the Plan, resolution of

 3 the issues in this litigation will be efficiently resolved in a single proceeding rather than multiple

 4 proceedings and each of those individual proceedings could seek recovery for the entire Plan.

 5 The losses suffered by individual Class members are small compared to the expense and burden

 6 of individual prosecution of this action. In addition, class certification is superior because it will

 7 obviate the need for unduly duplicative litigation which might result in inconsistent judgments

 8 about Defendants’ duties with regard to the ESOP.

 9          51.     The following factors set forth in Rule 23(b)(3) also favor certification of this
10 case as a class action:

11          a)      The members of the Class have an interest in a unitary adjudication of the issues
12          presented in this action for the reasons that this case should be certified under Rule
13          23(b)(1).
14          b)      No other litigation concerning this controversy has been filed by any other
15          members of the Class.
16          c)      This District is most desirable location for concentrating the litigation for reasons
17          that include (but are not limited to) the following: (i) the ESOP is administered in part in
18          this District, (iii) certain Defendants can be found in this District, and (iii) certain non-
19          party witnesses, are expected to be located in this District.
20          52.     The names and addresses of the Class are available from the ESOP. Notice will be
21 provided to all members of the Plaintiff Class to the extent required by Rule 23.

22                                    FIRST CLAIM FOR RELIEF
23                [Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(a),
24      29 U.S.C. §§ 1106(a), Against Defendants Roy Adams, Leslie Adams and Weissman]
25          41.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.
26          42.     ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), requires that a plan fiduciary “shall
27 not cause the plan to engage in a transaction, if he knows or should know that such transaction

28 constitutes a direct or indirect (A) sale or exchange, or leasing of any property between the plan


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 1 and a party in interest,” or a “(D) transfer to, or use by or for the benefit of, a party in interest, of

 2 any assets of the plan.”

 3          43.     ERISA § 3(14), 29 U.S.C. § 1002(14) defines a “party in interest” to include (A)
 4 any fiduciary … of such employee benefit plan”, (E) a relative -- which includes a spouse,

 5 ancestor, lineal descendant or the spouse of a lineal descendant -- of a fiduciary, and (H) an

 6 employee, officer or director or a 10 percent or more shareholder of an employer covered by the

 7 Plan. Defendants Roy Adams and Leslie Adams (and their relatives or trusts for their benefit or

 8 the benefit of their relatives) qualified as “parties in interest” within the meaning of ERISA §

 9 3(14).

10          44.     ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional exemption from the
11 prohibited transaction rules for sale of employer securities to or from a plan if a sale is made for

12 adequate consideration. The burden is on the fiduciary and the parties-in-interest to demonstrate

13 that conditions for the exemption are met.

14          45.     ERISA § 3(18)(B) defines adequate consideration as “the fair market of the asset
15 as determined in good faith by the trustee or named fiduciary.” ERISA § 3(18)(B) requires that

16 the fiduciary or party-in-interest show that the price paid must reflect the fair market value of the

17 asset at the time of the transaction, and the fiduciary conducted a prudent investigation to

18 determine the fair market value of the asset.

19          46.     As Trustee, Defendant Weissman caused the Adams ESOP to engage in a
20 prohibited transaction in violation of ERISA §§ 406(a)(1)(A) and (D), 29 U.S.C. §§

21 1106(a)(1)(A) and (D), by failing to ensure that the ESOP paid no more than fair market value

22 for the Adams and Associates stock purchased in the September 2012 Transaction. Specifically,

23 the ESOP paid more than fair market value for shares sold by Defendants Roy Adams and Leslie

24 Adams, members of the Adams family and/or Adams Family trusts.

25          47.     As officers and directors of Adams and Associates, as fiduciaries of the ESOP and
26 as the sellers of the stock to the Adams ESOP in the September 2012 Transaction, Defendants
27 Roy Adams and Leslie Adams were aware of sufficient facts that the September 2012

28 Transaction constituted a prohibited transaction with parties-in-interest. As parties-in-interest,


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 1 Defendants Roy Adams and Leslie Adams are liable for the violations of ERISA § 406(a)(1)(A)

 2 and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).

 3                                   SECOND CLAIM FOR RELIEF
 4                [Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(b),
 5           29 U.S.C. §§ 1106(a)-(b), Against Defendants Roy Adams and Leslie Adams]
 6          41.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.
 7          42.     ERISA § 406(b), 29 U.S.C. § 1106(b), mandates that a plan fiduciary shall not (1)
 8 “act in any transaction involving the plan on behalf of a party (or represent a party) whose

 9 interests are adverse to the interests of the plan or the interests of its participants,” or (2) “deal

10 with the assets of the plan in his own interest or for his own account,” or (3) “receive any

11 consideration for his own personal account from any party dealing with such plan in connection

12 with a transaction involving the assets of the plan.”

13          43.     As members of the Board of Directors of Adams and Associates, Defendants Roy
14 Adams and Leslie Adams were fiduciaries of the Adams ESOP at the time of the September

15 2012 Transaction.

16          44.     By selling their shares of Adams and Associates stock to the Adams ESOP in the
17 September 2012 Transaction, Defendants Roy Adams and Leslie Adams acted in a transaction

18 involving a plan where their own interests were adverse to those of the Adams ESOP within the

19 meaning of ERISA § 406(b)(1), they dealt with the assets of the Plan, which purchased their

20 Adams and Associate stock, in their own interest within the meaning of ERISA § 406(b)(2) and

21 as a result of the receipt of the proceeds from the sale of their Adams and Associates stock

22 received consideration for the their own personal account in connection with a transaction

23 involving assets of a plan within the meaning of ERISA § 406(b)(3).

24          45.     ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional exemption from the
25 prohibited transaction rules for sale of employer securities to or from a plan if a sale is made for

26 adequate consideration. The burden is on the fiduciary to demonstrate that conditions for the
27 exemption are met.

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 1          46.     ERISA § 3(18)(B) defines adequate consideration as “the fair market of the asset
 2 as determined in good faith by the trustee or named fiduciary.” ERISA § 3(18)(B) requires that

 3 the price paid must reflect the fair market value of the asset, and the fiduciary must conduct a

 4 prudent investigation to determine the fair market value of the asset.

 5          47.     By selling their shares of Adams and Associates stock to the Adams ESOP in the
 6 September 2012 Transaction, Defendants Roy Adams and Leslie Adams engaged in a prohibited

 7 transaction in violation of ERISA §§ 406(b), 29 U.S.C. §§ 1106(b) for which they are liable to

 8 restore the losses caused by these prohibited transactions, to disgorge profits or other appropriate

 9 remedial and equitable relief.

10                                    THIRD CLAIM FOR RELIEF
11                 [Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A) and (B),
12                 29 U.S.C. §§ 1104(a)(1)(A) and (B) Against Defendant Weissman]
13          48.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.
14          49.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan fiduciary
15 discharge his or her duties with respect to a plan solely in the interest of the participants and

16 beneficiaries, (A) for the exclusive purpose of providing benefits to participants and the

17 beneficiaries of the plan, (B) with the care, skill, prudence, and diligence under the

18 circumstances then prevailing that a prudent person acting in a like capacity and familiar with

19 such matters would use in the conduct of an enterprise of a like character and with like aims.

20          50.     In the context of a Transaction involving the assets of the Plan, the duties of
21 loyalty under ERISA § 404(a)(1)(A) and prudence under ERISA § 404(a)(1)(B) require a

22 fiduciary to undertake an appropriate investigation to determine that the plan and its participants

23 receives adequate consideration for the plan’s assets and the participants’ account in the plan.

24          51.     Pursuant to ERISA § 3(18), adequate consideration for an asset for which there is
25 no generally recognized market means the fair market value of the asset determined in good faith

26 by the trustee or named fiduciary pursuant to the terms of the plan and in accordance with the
27 Department of Labor regulations.

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 1          52.    To fulfill his fiduciary duties, Defendant Weissman was required to undertake an
 2 appropriate and independent investigation of the fair market value of Adams and Associates

 3 stock in the September 2012 Transaction in order to fulfill his fiduciary duties. Among other

 4 things, Defendant Weissman was required to conduct a thorough and independent review of any

 5 “independent appraisal,” to make certain that reliance on any and all valuation experts’ advice

 6 was reasonably justified under the circumstances of the September 2012 Transactions; to make

 7 an honest, objective effort to read and understand the valuation reports and opinions and question

 8 the methods and assumptions that did not make sense.

 9          53.    An appropriate investigation would have revealed that the valuations used for and
10 the price paid by the ESOP in the September 2012 Transaction did not reflect the fair market

11 value of the Adams and Associates stock purchased by the Plan, the September 2012 Transaction

12 was not in the best interests of the Plan participants and the September 2012 Transaction would

13 cause the ESOP to take on excessive debt.

14          54.    At the time of and after the September 2012 Transaction, Defendant Weissman
15 was obligated to inform ESOP participants – as well as the Plan Administrator and the Director

16 Defendants -- about his own criminal activity with respect to other ESOPs.

17          55.    Additionally, Defendant Weissman was required to remedy the ESOP’s
18 overpayment for Adams and Associates stock after the date of the September 2012 Transaction,

19 including as necessary correcting the prohibited transaction by seeking the overpayment from the

20 Adams Family and/or the breaching Trustee (i.e. himself).

21          56.    By causing the Adams ESOP to engage in the September 2012 Transaction,
22 failing to disclose his criminal activity and failing to correct the September 2012 Transaction,

23 Defendant Weissman breached his fiduciary duties under ERISA § 404(a)(1)(A) and (B), 29

24 U.S.C. § 1104(a)(1)(A), (B) and caused losses to the Plan and the accounts of the Class

25 Members.

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 1                                   FOURTH CLAIM FOR RELIEF
 2                [Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A), (B) and (D),
 3                29 U.S.C. §§ 1104(a)(1)(A), (B) and (D) Against Director Defendants]
 4          57.      Plaintiffs incorporate the preceding paragraphs as though set forth herein.
 5          58.      ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan fiduciary
 6 discharge his or her duties with respect to a plan solely in the interest of the participants and

 7 beneficiaries, (A) for the exclusive purpose of providing benefits to participants and the

 8 beneficiaries of the plan, (B) with the care, skill, prudence, and diligence under the

 9 circumstances then prevailing that a prudent person acting in a like capacity and familiar with

10 such matters would use in the conduct of an enterprise of a like character and with like aims, and

11 (D) in accordance with the documents and instruments governing the plan insofar as such

12 documents and instruments are consistent with ERISA.

13          59.      Under ERISA § 404(a)(1)(A) and (B), a fiduciary with the authority to appoint
14 and/or remove other fiduciaries has an obligation to undertake an appropriate investigation that

15 the fiduciary is qualified to serve in the position as fiduciary and at reasonable intervals to ensure

16 that the fiduciary who has been appointed remains qualified to act as fiduciary and is acting in

17 compliance with the terms of the Plan and in accordance with ERISA.

18          60.      An ERISA fiduciary’s duty of loyalty and prudence under ERISA § 404(a)(1)(A)
19 and (B) includes a duty to disclose and inform. Those duties not only require that a fiduciary

20 comply the specific disclosure provisions in ERISA, but also require (a) a duty not to misinform,

21 (b) an affirmative duty to inform when the fiduciary knows or should know that silence might be

22 harmful, and (c) a duty to convey complete and accurate information material to the

23 circumstances of the participants and beneficiaries.

24          61.      According to the SPD, “[t]he Trustee is appointed by the Board of Directors of
25 the Company.”

26          62.      Had the Director Defendants conducted a reasonably prudent investigation and
27 been interested in ensuring that ESOP was managed for the exclusive purpose of providing

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 1 benefits to ESOP participants, the Director Defendants would have learned prior to and after the

 2 September 2012 Transaction that Defendant Weissman was not a suitable Trustee for the ESOP.

 3         63.     Upon discovering that Defendant Weissman had been alleged to have engaged in
 4 and later pled guilty to felony charges arising from fraud, theft and embezzlement while acting as

 5 a fiduciary for two other ESOPs, the Director Defendants should have done at least the

 6 following: (a) promptly removed Weissman as Trustee and replaced him as Trustee, (b) informed

 7 the ESOP participants of the circumstances of Weissman’s removal (and the fact that he was

 8 removed and the name of his replacement), (c) conducted an investigation into Defendant

 9 Weissman’s administration of the ESOP, including the September 2012 Transaction, (d)

10 informed the ESOP participants of the investigation and (e) taken actions necessary to remedy

11 any fiduciary breaches including as necessary steps to correct the September 2012 Transaction

12 such as appointing an independent fiduciary or a new Trustee to evaluate the September 2012

13 Transaction, remedy the ESOP’s overpayment for Adams and Associates stock at any time

14 between the date of the 2012 ESOP Transaction and the present.

15         64.     Defendants breached their duties under ERISA § 404(a)(1), 29 U.S.C. §
16 1104(a)(1), either because they either failed to conduct an adequate investigation of Weissman

17 before or after the September 2012 and were ignorant of his criminal activities and conviction or

18 because they knew of Weissman’s criminal activities and convictions but failed to take sufficient

19 steps to protect Adams ESOP participants.

20         65.     By failing to properly appoint a qualified Trustee, failing to properly monitor
21 Defendant Weissman and/or failing to take appropriate action upon learning of Defendant

22 Weissman’s criminal activities, the Director Defendants breached their fiduciary duties under

23 ERISA § 404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) &(B).

24                                  FIFTH CLAIM FOR RELIEF
25    [Failure to Disclose Information Required by ERISA § 102, 104(b)(1), 29 U.S.C. §§ 1022,
26          1024(b)(1) & ERISA § 404(a)(1)(A) & (B), 29 U.S.C. §§ 1104(a)(1)(A) & (B),
27                                   Against Adams & Associates]
28         66.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.

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 1          67.     As the Plan Administrator within the meaning of ERISA § 3(16)(A), 29 U.S.C. §
 2 1002(16)(A), Adams and Associates was obligated to comply with ERISA §§ 102 and 104(b), 29

 3 U.S.C. § 1022 and 1024(b).

 4          68.     Pursuant to ERISA § 104(b)(1), Adams and Associates as Plan Administrator was
 5 required to furnish a current version of the SPD and any modifications and changes (A) to new

 6 participants within 90 days after that person became a participant and (B) to every participant in

 7 the Plan with an updated copy of an SPD to extent that there had been changes within the last 5

 8 years concerning information described in 29 U.S.C. § 1022.

 9          69.     To the extent that Defendant Weissman was removed as Trustee, information
10 identifying the new Trustee should have been communicated to participants and should have

11 been provided in an updated SPD. As of April 2018, no updated SPD had been distributed to

12 participants and the SPD on the ESOP website was still the 2012 SPD identifying Weissman as

13 the Trustee. To the extent that Weissman had been removed as Trustee, Adams and Associates

14 violated ERISA §§ 102, 104(b)(1), 29 U.S.C. §§ 1022 and 1024(b)(1).

15          70.     Additionally, as the Plan Administrator within the meaning of ERISA § 3(16)(A),
16 29 U.S.C. § 1002(16)(A) and a named fiduciary within the meaning of ERISA § 402(a), 29

17 U.S.C. § 1102(a), Adams and Associates had fiduciary duties pursuant to ERISA § 404(a), 29

18 U.S.C. § 1104(a).

19          71.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan fiduciary
20 discharge his or her duties with respect to a plan solely in the interest of the participants and

21 beneficiaries and (A) for the exclusive purpose of (i) providing benefits to participants and their

22 beneficiaries; and …. (B) with “care, skill, prudence, and diligence.”

23          72.     An ERISA fiduciary’s duty of loyalty and prudence under ERISA § 404(a)(1)(A)
24 and (B) includes a duty to disclose and inform. Those duties not only require that a fiduciary

25 comply the specific disclosure provisions in ERISA, but also require (a) a duty not to misinform,

26 (b) an affirmative duty to inform when the fiduciary knows or should know that silence might be
27 harmful, and (c) a duty to convey complete and accurate information material to the

28 circumstances of the participants and beneficiaries.


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 1          73.     The Ninth Circuit has recognized that a participant in an ERISA plan is entitled to
 2 know exactly where he stands with respect to the plan, including the benefits to which he or she

 3 may be entitled, the circumstances which may preclude him from obtaining benefits, what

 4 procedures he must follow to obtain benefits, and who are the persons to whom the management

 5 and investment of his plan funds have been entrusted.

 6          74.     Information that the Trustee of the ESOP had been indicted of, pled guilty to and
 7 had been incarcerated for fraud, theft and embezzlement from other ESOPs while acting as a

 8 fiduciary and that such criminal acts had occurred prior to and in close temporal proximity to the

 9 September 2012 Transaction is material information that the Adams ESOP participants had a

10 right to know and that Adams and Associates as Plan Administrator had an obligation to convey

11 to the Adams ESOP participants. Additionally, as Plan Administrator, Adams and Associates

12 had and has an obligation to inform the Adams ESOP participants whether Defendant Weissman

13 has been removed as Trustee of the ESOP and if not, why not and if so, the identity of the

14 subsequent and current Trustee. Finally, as Plan Administrator, Adams and Associates had and

15 has an obligation to inform the Adams ESOP participants whether – given the charges against

16 Weissman for which he pled guilty – whether any Plan assets have been misused or embezzled.

17          75.     To date, the ESOP participants have not provided sufficient information to allow
18 them to know whether a convicted felon remains or was removed as Trustee, whether there were

19 any improprieties or criminal acts by that convicted felon while he was Trustee that affected their

20 retirement accounts or even whether any such investigation was undertaken.

21          76.     Where a fiduciary has breached its duty to account to the participants and
22 beneficiaries of the trust, the participants and beneficiaries (and in fact, “any person financially

23 interested in the trust administration”) is entitled to bring a suit to compel the fiduciaries of the

24 Plan to provide such information.

25          77.     To the extent that ERISA participants or beneficiaries are required to be harmed
26 to obtain such information or an accounting, Plaintiffs and the Class have been harmed because
27 they have not been provided basic information about who is the current Trustee, whether their

28 benefits have been affected by any criminal activity, whether there has been any such


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 1 investigation into whether the assets of the Plan have been misappropriated or whether there is

 2 any Trustee or any other fiduciary actually looking out for their interests.

 3                                    SIXTH CLAIM FOR RELIEF
 4 [Violation of ERISA § 410 & ERISA § 502(a)(3) against Defendant Weissman and Director

 5                                              Defendants]
 6           78.    Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.
 7           79.    ERISA § 410(a), 29 U.S.C. § 1110(a), provides in relevant part (with exceptions
 8 not applicable here) that “any provision in an agreement or instrument which purports to relieve

 9 a fiduciary from responsibility or liability for any responsibility, obligation, or duty under this

10 part [ERISA Part IV] shall be void as against public policy.”

11           80.    ERISA § 502(a)(3), 29 U.S.C. § 1102(a)(3), authorizes a plan participant to bring
12 a civil action (A) to enjoin any act or practice which violates any provision of ERISA or the

13 terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress violations of

14 ERISA or the terms of the plan or (ii) to enforce any provisions of ERISA or the terms of the

15 plan.

16           81.    To the extent that Defendant Weissman’s engagement agreements with Adams
17 and Associates (or any other agreements) attempt to relieve Defendant Weissman of his

18 responsibility or liability to discharge its fiduciary duties or to have Adams and Associates (an

19 ESOP-owned company) and thereby the ESOP be responsible for his liability or breaches,

20 Defendant Weissman’s engagement agreements (or other agreements) are void as against public

21 policy.

22           82.     To the extent that agreements or other instruments governing the relationship
23 between the Director Defendants and Adams and Associates attempt to relieve the Director

24 Defendants or any of them of his or her responsibility or liability to discharge his or her fiduciary

25 duties or to have Adams and Associates (an ESOP-owned company) and thereby the ESOP be

26 responsible for his or her liability or breaches, such agreements or other instruments are void as
27 against public policy.

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 1          83.     To the extent that Defendants would agree to such a provision that is void against
 2 public policy under ERISA § 410, Defendants breached their fiduciary duties under ERISA by

 3 failing to discharge their duties with respect to the Plan solely in the interest of the participants

 4 and beneficiaries (A) for the exclusive purpose of providing benefits to participants and

 5 beneficiaries and (B) with the care, skill, prudence and diligence under the circumstances then

 6 prevailing that a prudent person acting in a like capacity and familiar with such matters would

 7 use in the conduct of an enterprise of like character and aims, in violation of ERISA §

 8 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).

 9          84.     Any indemnification provision in agreements between Defendants and Adams
10 and Associates or other agreements or instruments governing the relationship between

11 Defendants and Adams and Associates should be declared void ab initio and should be reformed

12 to strike or modified accordingly.

13          85.     Defendants should be ordered to disgorge any indemnification payments made by
14 Adams and Associates and/or the ESOP, plus interest.

15 VIII. PRAYER FOR RELIEF

16          Wherefore, Plaintiffs on behalf of themselves and the Class, pray that judgment be
17 entered against Defendants on each Claim and be awarded the following relief:

18          A.      Declare that Defendants have each breached their fiduciary duties under ERISA;
19          B.      Declare that Defendants Weissman, Roy Adams and Leslie Adams have each
20 engaged in prohibited transactions in violation of ERISA §§ 406(a)-(b), 29 U.S.C. §§ 1106(a)-

21 (b), by engaging in the September 2012 Transaction;

22          C.      Enjoin Defendants, and each of them, from further violations of their fiduciary
23 responsibilities, obligations and duties;

24          D.      Remove each of the Defendants as fiduciaries and Trustees of the Adams ESOP
25 and/or bar each of them from serving as fiduciaries of the Adams ESOP in the future, and

26 appoint a new independent fiduciary to manage the Adams ESOP and order the costs of such
27 independent fiduciary be paid for by Defendants;

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 1          E.       Order that Defendants found to have breached his/her/its fiduciary duties to the
 2 Adams ESOP to jointly and severally restore all the losses resulting from their breaches and

 3 disgorge all profits they have made through use of assets of the ESOP;

 4          F.       Require Adams and Associates as Plan Administrator to provide an updated SPD
 5 to all ESOP participants;

 6          G.       Require Adams and Associates as Plan Administrator and the Director Defendants
 7 to disclose if and when Defendant Weissman was removed as plan administrator, whether any

 8 investigation was conducted concerning any criminal or improper activity that occurred while he

 9 was Trustee and to provide an accounting to Plaintiffs and the Class of the financial accounts of

10 the Plan;

11          H.       Order that Defendants provide other appropriate equitable relief to the ESOP,
12 including but not limited to, by forfeiting their ESOP accounts, providing an accounting for

13 profits, imposing a constructive trust and/or equitable lien on any funds wrongfully held by any

14 of the Defendants;

15          I.       Order pursuant to ERISA § 206(d)(4) that any amount to be paid to the ESOP
16 accounts of the Class can be satisfied by using or transferring any breaching fiduciary’s ESOP

17 account in the Plan (or the proceeds of that account) to the extent of that fiduciary’s liability.

18          J.       Declare that any indemnification agreement between the Defendants, or any of
19 them, and Adams and Associates or the ESOP violates ERISA § 410, 29 U.S.C. § 1110, and is

20 therefore null and void.

21          K.       Require Defendants to pay attorneys’ fees and costs pursuant to ERISA § 502(g),
22 29 U.S.C. § 1132(g), and/or ordering payment of fees and expenses to Plaintiffs’ counsel on the

23 basis of the common benefit or common fund doctrine out of any money recovered for the Class;

24          L.       Order Defendants and each of them to disgorge any fees they received in
25 conjunction with the 2012 ESOP Transaction;

26          M.       Declare that any indemnification agreement between Defendants and the ESOP or
27 Adams Associates violates ERISA § 410, 29 U.S.C. § 1110, and is therefore null and void;

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 1          N.     Issue a preliminary and permanent injunction barring Defendants and each of
 2 them from seeking to enforce any indemnification agreement between Defendants and the ESOP

 3 or Adams and Associates;

 4          O.     Order Defendants and each of them to reimburse the ESOP or Adams and
 5 Associates for any money advanced by the ESOP or Adams and Associates, respectively, under

 6 any indemnification agreement or other instrument between Defendants and the ESOP or Adams

 7 and Associates;

 8          P.     Order that Defendants and each of them provide other appropriate equitable relief
 9 to the Plan, including but not limited to rescission, surcharge, providing an accounting for

10 profits, and imposing a constructive trust and/or equitable lien on any funds wrongfully held by

11 Defendants;

12          Q.     Award pre-judgment interest and post-judgment interest; and
13          R.     Award such other and further relief that the Court determines that Plaintiffs and
14 the Class are entitled to pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) or pursuant to Rule

15 54(c) of the Federal Rules of Civil Procedure or that is equitable and just.

16 Dated: May 9, 2018                                    Respectfully submitted,
17                                                       /s/ Daniel Feinberg
                                                         Daniel Feinberg
18
                                                         Email: dan@feinbergjackson.com
19                                                       FEINBERG, JACKSON, WORTHMAN &
                                                         WASOW LLP
20                                                       383 - 4th Street, Suite 201
                                                         Oakland, CA 94609
21                                                       Tel: (510) 269-7998
                                                         Fax: (510) 269-7994
22

23                                                       R. Joseph Barton
                                                         Email: jbarton@blockesq.com
24                                                       BLOCK & LEVITON LLP
                                                         1735 20th Street, N.W.
25                                                       Washington, DC 20009
                                                         Tel: (202) 734-7046
26
                                                         Fax: (617) 507-6020
27
                                                         Attorneys for Plaintiffs
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